OPINION — AG — NEITHER OKLAHOMA COUNTY NOR THE COURT CLERK NOR ANY OTHER OFFICER OR EMPLOYEE OF SAID COUNTY IS REQUIRED, OR AUTHORIZED, TO DEDUCT FROM THE "ADDITIONAL" COMPENSATION PAID FROM THE COURT FUND OR SAID COUNTY TO EACH OF THE DISTRICT JUDGES OF THE 7TH JUDICIAL DISTRICT WHICH INCLUDES SAID COUNTY, ANY AMOUNT AS THE EMPLOYEE'S TAX PROVIDED FOR IN SECT. 3101 OF THE FEDERAL INTERNAL REVENUE CODE. CITE: 51 O.S.H. 122, 51 O.S.H. 123, 51 O.S.H. 124, 62 O.S.H. 323, 74 O.S.H. 251(B) (JAMES HARKIN)